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                                                                                             FILED
                                                                                         March 07, 2023
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      WESTERN DISTRICT OF TEXAS
                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                                                 JU
                                                                                   BY: ________________________________
                                                                                                           DEPUTY
                                   SAN ANTONIO DIVISION


DAVID H. STOUT, II                                )
                                                  )
               Plaintiff                          )
                                                  )
v.                                                )           CIVIL ACTION NO.
                                                  )           SA-22-CV-441-OG
WELLS FARGO BANK, N.A. and                        )
BARRETT DAFFIN FRAPPIER TURNER                    )
& ENGEL, LLP                                      )
                                                  )
               Defendants                         )


                                              ORDER

       Pending before the Court is Defendant Wells Fargo’s motion to dismiss, filed pursuant to

Rule 12(b)(6). Docket no. 9. Plaintiff has filed a response (docket no. 12) and Defendant has

filed a reply (docket no. 13).1 After reviewing the pleadings, motion, response, and applicable

law, the Court finds that Defendant’s motion to dismiss should be GRANTED.

       Rule 12(b)(6) authorizes the dismissal of a complaint on a defendant’s motion when the

pleading fails to state a claim upon which relief can be granted. FED. R. CIV. P. 12(b)(6). Plaintiff

previously surrendered real property in a Chapter 13 bankruptcy proceeding and was discharged.

However, Wells Fargo (the mortgagee) could not proceed with transfer of title on the property

until it completed foreclosure. Wells Fargo filed a lawsuit for foreclosure and writ of possession

on the property in Comal County, Texas, which is still ongoing. When the foreclosure proceeding

was filed, Wells Fargo named Plaintiff (the mortgagor) as a party, but sought only to obtain title



       1
        This is Defendant’s second motion to dismiss. After Defendant filed its first motion to
dismiss, Plaintiff amended his complaint. See docket nos. 6, 8.)
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and possession of the property and sought no monetary relief against Plaintiff. Nevertheless,

Plaintiff filed this lawsuit in response, claiming the foreclosure lawsuit constitutes a violation of

the Texas Debt Collection Act. Plaintiff asserts that statements in the foreclosure petition

constitute “misrepresentations” under the TDCA and he wants this Court to award, as damages,

any fees or costs incurred in appearing in the state court proceeding. Plaintiff sues both the

mortgagee, Wells Fargo, and the law firm that filed the foreclosure action on behalf of the

mortgagee. The claims herein should be dismissed for the following reasons.

        First, any party to a pending state court lawsuit may seek relief from the court in which

the lawsuit is pending if they believe there are “misrepresentations” in the pleadings. Likewise,

any party to such lawsuit may seek to recover their attorneys fees and costs in defending the

lawsuit if the matter is resolved in their favor. Because the foreclosure proceedings is still

pending and the state court could provide an adequate and suitable remedy for Plaintiff’s alleged

injury (fees and costs incurred), this Court will abstain from exercising jurisdiction over this

matter.2

           Even if the Court was not inclined to abstain, Plaintiff has failed to allege a legally

cognizable injury. Wells Fargo is merely seeking title and possession of the property, and

Plaintiff has already surrendered the property. Seeking reimbursement of fees and costs incurred

in making an appearance and defending the foreclosure proceedings is not enough to raise a

viable TDCA claim. Bitterroot Holdings, LLC v. Bank of New York Mellon, 2017 WL 10181041,


        2
          This is Colorado River-type abstention, although Younger-type abstention has also been applied
in civil cases. See Nationstar Mortg. LLC v. Knox, 351 Fed. Appx. 844, 851 (5th Cir. 2009) (describing
Colorado River abstention doctrine); see also Sprint Communications v. Jacobs, 571 U.S. 69, 78 (2013)
(noting that certain civil proceedings have warranted Younger type abstention). Abstention may be raised
sua sponte.

                                                     2
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at *15-16 (W.D. Tex. 2017) (even assuming that litigation to judicially foreclose on a lien could

constitute a false representation or deceptive means to collect a debt, a TDCA plaintiff must

prove actual damages that result from an alleged violation ... incurred attorney’s fees and

expenses “cannot be damages giving rise to a TDCA claim, lest the ‘actual damages’ requirement

lose all meaning”).

        It is therefore ORDERED that Defendant Wells Fargo’s Motion to Dismiss Amended

Complaint (docket no. 9) is GRANTED, and this case is DISMISSED.3 Final judgment may be

entered accordingly, with taxable costs assessed against Plaintiff.

                                 7th day of March, 2023.
        SIGNED and ENTERED this ______



                                                 ____________________________
                                                 ORLANDO L. GARCIA
                                                 UNITED STATES DISTRICT JUDGE




        3
         Wells Fargo moved for dismissal, but the reasons for dismissal also apply to the claims
against the law firm.

                                                    3
